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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

BRENDA J. COOPER, ET AL.                                                   PLAINTIFFS
versus                                               Civil Action No. 4:16cv52-DMB-JMV
MERITOR, INC., ET AL.                                                      DEFENDANTS

                                       Consolidated With

JOE E. SLEDGE, ET AL.                                                      PLAINTIFFS
versus                                               Civil Action No. 4:16cv53-DMB-JMV
MERITOR, INC., ET AL.                                                      DEFENDANTS

KATHERINE LONGSTREET COOKE, ET AL.                                         PLAINTIFFS
versus                                               Civil Action No. 4:16cv54-DMB-JMV
MERITOR, INC., ET AL.                                                      DEFENDANTS

SRA INVESTMENTS, LLC, ET AL.                                               PLAINTIFFS
versus                                               Civil Action No. 4:16cv55-DMB-JMV
MERITOR, INC., ET AL.                                                      DEFENDANTS

FELICIA WILLIS, ET AL.                                                     PLAINTIFFS
versus                                               Civil Action No. 4:16cv56-DMB-JMV
MERITOR, INC., ET AL.                                                      DEFENDANTS

     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ COMBINED MOTION TO
   STRIKE LATE-FILED EVIDENCE IN SUPPORT OF TEXTRON’S MOTION FOR
        SUMMARY JUDGMENT AND SUMMARY JUDGMENT MOTION

       Plaintiffs’ move to strike documents filed beyond the deadline imposed by the Court’s

scheduling order as follows:

       The Court entered its ORDER [457] on December 8, 2017 setting deadlines as follows:

       The discovery deadline is April 9, 2018 and the dispositive and Daubert motions

deadline for the lead case is extended to May 9, 2018. No further extensions will be made in

light of the trial date of October 9, 2018. (emphasis in original)




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        On May 9, 2018, the Defendants filed 48 separate documents including 11 dispositive

motions and 9 motions to exclude or limit expert testimony together with supporting memoranda,

itemizations of undisputed facts and exhibits.

        On May 10, 2018, Defendant Textron made 9 additional filings. Five of these filings were

made to confirm certification of service [602], [603], [604], [605], [607]. One filing [606] is an

appendix of exhibits filed, in accordance with the Court’s direction. The remaining three filings

are significant, were filed after the Court’s motion deadline and should be stricken from the

Record.

        The documents at issue are all exhibits filed in support of Textron’s Motion for Summary

Judgment [591] and filed in association with [596] which is an affidavit certifying the authenticity

of 48 exhibits attached to [596] in support of Textron’s dispositive motion. Textron did not seek

leave of Court to file the exhibit documents and attachments outside of the May 9, 2018 deadline.

When the Court has entered its order setting deadlines, the usual parameters of Rule 6 Fed. R. Civ.

P. governing the computation and enlargement of time no longer apply and the Court’s order

controls. Absent a request for enlargement of time granted by the Court, documents subject to the

Court’s deadline filed out of time are due to be stricken from the Record.

        Document [599] is 10 pages with 58 pages of additional attachments. Document [600] is

164 pages with 586 pages of additional attachments. Document [601] is 250 pages with 448 pages

of additional attachments. Textron did not explain why these 1,516 pages of exhibits supporting

its dispositive motion were filed out of time or offer any justification for the late filing.

        Accurate and complete copies of the exhibit documents at issue were sworn as attached in

support of Textron’s dispositive motion pursuant to affidavit of Textron’s counsel [596]. Many of



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these exhibits were represented to provide support for Textron’s statement of undisputed material

facts [595] including exhibits 1, 3, 17, 29-38 and 40-48. In short, Textron averred that it filed 22

exhibits in support of its motion for summary judgment on May 9, 2018 that were not actually

filed until May 10 one day beyond the deadline.

       The Federal Rules of Civil Procedure, authorize [ ] federal courts to control and expedite

the discovery process through a scheduling order. Barrett v. Atlantic Richfield Co., 95 F.3d 375,

380 (5th Cir. 1996); see Fed. R. Civ. P. 16.

       Federal Rule of Civil Procedure 16 allows a court to strike pleadings if a party fails to

comply with deadlines imposed by a scheduling order. Fed. R. Civ. P. 16(f)(1)(C). A scheduling

order may be modified only for good cause and only with the judge’s consent. Fed. R. Civ. P.

16(b)(4).

       Textron did not seek leave to file its exhibits out of time or attempt to demonstrate good

cause for modification of the Court’s scheduling order. The Fifth Circuit has listed four factors

relevant to examination of whether good cause for modification of a scheduling order exists: 1)

the explanation for the failure to timely move for leave to amend; 2) the importance of the

amendment; 3) potential prejudice in affording the amendment; and 4) availability of a continuance

to cure the prejudice. Sw. Bell Tel. Co. v. City of El Paso, 346 F.3d 541, 546 (5th Cir. 2003)

       If a party properly moves for amendment the Court has broad discretion in preserving the,

integrity and purpose of its scheduling order. S&W Enters, LLC v. SouthTrust Bank of Ala, N.A.,

315 F.3d 533, 536 (5th Cir. 2003) Here, however, there was no attempt to establish good cause for

the filing of exhibits beyond the Court’s deadline and therefore no possibility of determining

whether Textron had good cause for the late filings. The good cause standard requires the party



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seeking relief to show that the deadlines cannot reasonably be met despite the diligence of the

party needing the extension. Id. at 535.

         Any belated request for relief from Textron (assuming same is forthcoming in response to

the instant motion) would still be subject to the good cause standard which Textron cannot meet.

The blitzkrieg strategy of the Defendants to file 11 dispositive motions and 9 motions to exclude

or limit expert testimony almost simultaneously was calculated to overwhelm the Plaintiffs’ ability

to respond to the massive filings. This type of shock and awe motion practice unleashed at the

motion deadline can effectively shield retaliation of scale and limit effective response argument

through sheer volume of briefing under the limited (14 day) response time applicable to each

motion. Such strategy requires great discipline and attention to detail. The Defendants’ desire to

file 48 documents nearly concurrently with the motion deadline carried with it the very real risk

that a mistake would be made.

         Here, it appears that Textron intended to file 48 exhibits (with attachments) supporting its

dispositive motion within the May 9, 2018 deadline and averred that they had been filed. 22 of the

exhibits were not filed until May 10 when, without leave of Court or explanation, Textron filed

[599], [600], and [601] in relation to the affidavit [596] that incorrectly averred on May 9th that all

the exhibits were timely filed. A mistake was apparently made but mistake does not equate to good

cause.

                                           CONCLUSION

         Documents [599], [600], and [601] should be stricken from the Record because they were

filed beyond the scheduling order of the Court, were filed without leave of Court and because good

cause has neither been claimed or established for the out-of-time filing.



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   DATED this the 15th day of May, 2018.

                              Respectfully submitted by,

                               /s/Marquette Wolf
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                                CERTIFICATE OF SERVICE

       This is to certify that I, Marquette Wolf, served a true and correct copy of the above and

foregoing document on all counsel of record by transmitting the same via electronic mail and/or

by filing the same with the ECF system established by the Court, which sent a copy of the same

to all counsel of record.

       DATED: May 15, 2018.



                                                     /s/ Marquette Wolf
                                                     MARQUETTE WOLF




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